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                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      August 21, 2024

BY ECF

Honorable Lewis A. Kaplan
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     United States v. Ryan Salame, S7 22 Cr. 673 (LAK)

Dear Judge Kaplan:

    This Court should reject Ryan Salame’s shameless and self-serving attempt to renege on his
guilty plea in the aftermath of his sentencing, presented in Salame’s coram nobis petition filed this
evening. (See Dkt. 470). Salame resorts to inaccurate, incomplete, and outright false assertions
in an effort to evade his serious sentence for his involvement in an illegal campaign finance scheme
that was unprecedented in scale, and for his role in funneling billions of dollars through an
unlicensed money transmitting business. Salame’s petition is factually baseless and legally
meritless. The Government requests an opportunity to respond in full to Salame’s petition by
September 6, 2024, or on a schedule convenient for the Court. In the meantime, the Government
writes to briefly respond to some of Salame’s false allegations about his plea and an ongoing
Government investigation.

    Salame’s petition is premised on the allegation that he was induced to plead guilty based on
representations by the Government that in exchange for pleading guilty, the Government would
cease investigating his then-girlfriend Michelle Bond for conspiring with Salame to commit
criminal campaign finance violations. That accusation is demonstrably false. As Salame
emphasizes, the Government had a virtual meeting with Salame’s attorneys on April 28, 2023.
But Salame misrepresents the substance of that meeting. During that meeting, the Government
discussed potential charges against Salame and the benefits of pleading guilty in advance of an
indictment. Among other things, the Government noted that while it was not making promises
outside the four corners of any plea agreement, as is often the practice within the U.S. Attorney’s
Office of the Southern District of New York, if the parties did reach a resolution the Government
expected that this would conclude the aspects of the investigation concerning Salame, but not
Bankman-Fried. 1


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  Salame claims that the Government stated that “‘if we conclude’ the investigation ‘as to
[Salame], that would conclude th[e] facet of the investigation’ into Bond.” Salame Decl. ¶ 6.
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    Further, Salame entirely omits that the Government had a follow-up virtual meeting with
Salame’s attorneys on May 25, 2023, to clarify the status of its investigation into Michelle Bond—
whom Salame’s attorneys also represented—and spelled out, for the avoidance of any doubt, that
a Salame guilty plea would not stop any ongoing investigation into Bond’s conduct. As
contemporaneous notes reflect, on that call the Government stated in substance and in part that in
light of prior plea discussions, the Government “wanted to make very clear that we view
discussions of Michelle [Bond]/Ryan [Salame] as separate, a Ryan disposition will not resolve
investigation of Michelle’s conduct, and to extent anything previously said was understood
otherwise, that is superseded by this call.”

       It was after this call that Salame entered a guilty plea. During that proceeding, Salame
confirmed under oath that his plea was knowing and voluntary, and that he was not relying on any
promises outside the four corners of the plea agreement, as none had been made:

       THE COURT: Has anyone made any promises other than
       whatever is set forth in the plea agreement that induced you to
       plead guilty?

       THE DEFENDANT: No, your Honor.

(9/7/2023 Ryan Salame Guilty Plea Tr. at 19).

    The timing of Ryan’s petition alone demonstrates its transparent insincerity. On April 15,
2024, the Government reached out to Bond’s attorneys about the status of its ongoing investigation
into Bond and confirmed that the Government was continuing to investigate Bond. At that point,
Bond’s attorneys still represented Salame in connection with his upcoming sentencing. Despite
this, at no point prior to sentencing did Salame attempt to withdraw his guilty plea based on the
assertions he now raises, and in his remarks at sentencing he made no mention of any surprise that
the Government continued to investigate Bond, let alone that his guilty plea was premised on a
promise that such an investigation would cease. It was only after the Court imposed a sentence
far above the sentence sought by Salame that Salame now seeks to vacate a plainly knowing and
voluntary guilty plea by making specious allegations against the Government.

       Such behavior is of a piece with Salame’s other post-sentencing conduct, which has
demonstrated a complete lack of remorse and utter contempt for the justice system, with public
tweets such as: “I often contemplate how they pressured Nishad into lying about how he viewed
his campaign finance contributions. I have some ideas but I’ll likely never know the full extent.”
(July 16, 2024); “Nishad if you’re reading this how did they get you to plead guilty to campaign
finance violations when I know you had internal and external legal teams, political consultants,
and accountants all involved specifically to ensure it was legal?” (August 6, 2024); “Well the
biggest is I know for a fact Nishad didn’t think he was committing campaign finance fraud and yet

Notably, the name “Bond” is outside the supposed language Salame is quoting from that meeting,
altering the meaning of the Government’s statements. Regardless, any arguable ambiguity was
dispelled in the subsequent May 25, 2023, meeting described here.
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he plead guilty to it” (August 14, 2024); “When Nishad finally admits he lied to the government
to save himself will I be compensated?” (August 17, 2024); “If you want to know how f*cked up
our justice system is watch how little time Nishad and Caroline get after lying to save themselves.”
(August 18, 2024). This is all to say nothing of Salame’s complete failure to meet the standard for
coram nobis, which the Government requests an opportunity to address on the briefing schedule
set by the Court.




                                              Respectfully submitted,

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